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                                                                     Thomas A. Warns
                                                                     Partner
                                                                     tom.warns@klgates.com
        April 24, 2025                                               T +1 212 536 4009
                                                                     F +1 212 536 3901


        Hon. Jesse M. Furman
        Thurgood Marshall Courthouse
        40 Foley Square
        New York, NY 10007

        Re:      Checkmate.com Inc. v. Arjun Vasan, Case No. 25-cv-03181-JMF - Response to
                 Defendant’s Request for Extension

        Dear Judge Furman,

        I write on behalf of Checkmate.com, Inc. (“Checkmate”) in opposition to the recent letter from pro
        se Defendant Arjun Vasan requesting a 14-day extension of time to file a responsive pleading in
        this matter, as well as to provide your Honor with additional context regarding the timeline of this
        dispute. Mr. Vasan’s proposed two-week extension is entirely unnecessary given the amount of
        time that he has been on notice of the Complaint filed against him in New York State Court.

        Last week, Mr. Vasan decided (without conferring with counsel for Plaintiff) to remove this case
        from New York State Court, where it has been pending since Checkmate filed its Complaint on
        February 14, 2025. Despite having received a copy of the initial pleadings in this case as early as
        March 4, Mr. Vasan has apparently made no attempt to secure counsel, and did not file any
        response or even make an appearance in the state court matter until purportedly filing his notice
        of removal on April 12th (although the removal filing was docketed on April 17th).

        Granting Mr. Vasan an additional two weeks here would mean that he will have had nearly two
        months after initial service of the Complaint to respond. While we are aware that Mr. Vasan now
        appears to be challenging the adequacy of service of process against him, the truth is that Mr.
        Vasan was sending letters referencing the Complaint and threatening sanctions against counsel
        for Checkmate only a few days after the Complaint was (properly) served on him in early March.

        While Plaintiff reserves the right to respond to Mr. Vasan’s inadequate service of process
        arguments at a later date when those arguments are properly presented, two months to file a
        responsive pleading seems excessive given 1) the relatively short length of the Complaint 2) the
        fact that a Defendant would typically only receive 21 days to respond in a normal case and 3) Mr.




K&L GATES LLP
599 LEXINGTON AVENUE NEW YORK NY 10022-6030
T +1 212 536 3900 F +1 212 536 3901 klgates.com
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Vasan’s repeated (and inexplicable) delays in this case. As a result, Checkmate respectfully asks
that such request be denied, or that Defendant’s deadline to respond to the Complaint be
extended by a shorter and more appropriate length of time.

Checkmate reserves all rights and waives none.


Respectfully,

/s/ Thomas A. Warns

Thomas A. Warns
Partner




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                                                                                       April 23, 2025
